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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 22-CR-80173-CANNON

  UNITED STATES OF AMERICA,

        Plaintiff,
  vs.

  WILLIAM SPEARMAN,

        Defendant.
                                           /

                                 MOTION TO SEVER

        Comes now, the defendant, WILLIAM SPEARMAN, by and through

  undersigned counsel, pursuant to Fed. R. Crim. P. 14 and the doctrine of Bruton v.

  United States, 391 U.S. 123 (1968), and moves this Court for an order severing Mr.

  Spearman’s trial from the trial for his codefendants. As grounds, he states:

        1. In its second superseding indictment, the government has charged Mr.

           Spearman and three codefendants (Good, Garrell, and Boyles) with

           conspiracies to advertise and distribute child pornography, in violation of

           18 U.S.C. § 2251(d) and (e) and 18 U.S.C. § 2252A(a)(2) and (b)(1),

           respectively. [DE 38]. In the same indictment, the government has also

           charged Mr. Spearman with engaging in a child exploitation enterprise, in

           violation of 18 U.S.C. § 2252A(g). [DE 38].

        2. In summary, the government alleges Mr. Spearman ran a child

           pornography website, Website A, with the assistance of various “staff




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           members” and was known to those staff members and other site users by

           his usernames.

        3. Through discovery, the government provided a recorded statement in which

           codefendant Good identifies one of those usernames as the individual

           running the website. At this time, the government has not provided any

           discovery relating to any statements made by Garrell or Boyles, but has

           acknowledged the existence of recorded statements from both of them.

        4. To the extent the government intends to introduce Good’s statements or

           similar statements from Garrell or Boyles, Mr. Spearman objects because:

           (1) as they relate to Mr. Spearman, these statements are inadmissible

           hearsay and (2) introduction of these statements against Mr. Spearman

           would violate his constitutional rights under the Confrontation Clause.

           Bruton v. United States, 391 U.S. 123 (1968)(finding a defendant is deprived

           of his Confrontation Clause rights when his non-testifying codefendant’s

           out-of-court statement inculpating him is introduced at their joint trial,

           even if the jury is instructed to consider that confession only against the co-

           defendant); United States v Turner, 474 F.3d 1265 (11th Cir. 2007); United

           States v. Doherty, 233 F.3d 1275 (11th Cir. 2000).

        5. Accordingly, to the extent the government intends to introduce the

           statements of a non-testifying codefendant that inculpate him at his trial,

           Mr. Spearman moves this Court for an order severing his trial from those

           codefendants.



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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 88.9

        In good faith, counsel has discussed this matter with Assistant United States

  Attorney Greg Schiller and certifies the parties are unable to resolve the issues raised

  in this motion.

                                          Respectfully submitted,

                                          MICHAEL CARUSO
                                          FEDERAL PUBLIC DEFENDER

                                          s/ Scott Berry
                                          Scott Berry
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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on April 12, 2023, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified

  on the attached Service List in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                          By: s/Scott Berry
                                              Scott Berry




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